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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------- X
CHRISTINE DAVIS,
                                      Plaintiff,                            Case No.: 22-5594

                  V.                                                        COMPLAINT

THE WALT DISNEY COMPANY, AMERICAN
BROADCASTING COMPANY (ABC),                                                 TRIAL BY JURY
NON-SEQUITOR PRODUCTIONS, BLUE                                              DEMANDED
PARK PRODUCTIONS, SHAVON SULLIVAN
WRIGHT, CHERISSE PARKS and
QUINTA BRUNSON,

                                     Defendants.
---------------------------------------------------------X

                                                   COMPLAINT

         COMES NOW Plaintiff Christine Davis ("Plaintiff' or "Ms. Davis"), and files this

Complaint against Defendants Walt Disney Company, the American Broadcasting Company

("ABC"), Non-Sequitur Productions ("Non-Sequitur"), Blue Park Productions, Shavon Sullivan

Wright, Cherisse Parks, and Quinta Brunson ("Brunson") (hereinafter collectively known as

"Defendants") respectfully stating as follows:

                                                INTRODUCTION

     1. This is a civil action seeking actual and statutory damages for copyright infringement

         arising under the copyright laws of the United States, 17 U.S.C. §101 et seq., as amended

         (the Copyright Act").

     2. Plaintiff is the sole owner of work copyrighted pursuant to the Copyright Act under

         Registration No. PAu004020233.                 The work pertains to Plaintiffs original scripted

         television series "This School Year".

     3. Defendants directed, produced, advertised, sold, and streamed the Abbot Elementary

         television series that premiered in December 2021 and Defendant ABC Television

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